     Case 3:21-cv-03496-AMO           Document 280      Filed 10/28/24   Page 1 of 2



1    Kenneth A. Gallo (pro hac vice)
     Paul D. Brachman (pro hac vice)
2    PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
     2001 K Street, NW
3    Washington, DC 20006-1047
     Telephone: (202) 223-7300
4    Facsimile: (202) 223-7420
     Email: kgallo@paulweiss.com
5    Email: pbrachman@paulweiss.com

6    William B. Michael (pro hac vice)
     Crystal L. Parker (pro hac vice)
7    Daniel A. Crane (pro hac vice)
     PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
8    1285 Avenue of the Americas
     New York, NY 10019-6064
9    Telephone: (212) 373-3000
     Facsimile: (212) 757-3990
10   Email: wmichael@paulweiss.com
     Email: cparker@paulweiss.com
11   Email: dcrane@paulweiss.com

12   Joshua Hill Jr. (SBN 250842)
     PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
13   535 Mission Street, 24th Floor
     San Francisco, CA 94105
14   Telephone: (628) 432-5100
     Facsimile: (628) 232-3101
15   Email: jhill@paulweiss.com

16   Attorneys for Defendant Intuitive Surgical, Inc.

17   [Additional counsel listed on signature page]

18                               UNITED STATES DISTRICT COURT
19                            NORTHERN DISTRICT OF CALIFORNIA
20                                    SAN FRANCISCO DIVISION
21

22   SURGICAL INSTRUMENT SERVICE                        Case No. 3:21-cv-03496-AMO
     COMPANY, INC.,
23                                                      DEFENDANT INTUITIVE SURGICAL
                         Plaintiff,                     INC.’S TRIAL BRIEF
24           v.
                                                        Date: November 25, 2024
25   INTUITIVE SURGICAL, INC.,                          Time: 11:00 a.m.
                                                        Courtroom: 10
26
                        Defendant.
27
                                                        The Honorable Araceli Martínez-Olguín
28
Case 3:21-cv-03496-AMO   Document 280   Filed 10/28/24   Page 2 of 2




   DOCUMENT FILED UNDER SEAL
                IN ITS ENTIRETY
